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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 THE NIELSEN COMPANY (US), LLC,                 )
                                                )
                Plaintiff,                      )
                                                )     C.A. No. 21-1592-CJB
        v.                                      )
                                                )     JURY TRIAL DEMANDED
 TVISION INSIGHTS, INC.,                        )
                                                )
            Defendant.                          )
 THE NIELSEN COMPANY (US), LLC,                 )
                                                )
                Plaintiff,                      )
                                                )     C.A. No. 22-57-CJB
        v.                                      )
                                                )     JURY TRIAL DEMANDED
 TVISION INSIGHTS, INC.,                        )
                                                )
                Defendant.                      )

                         JOINT CLAIM CONSTRUCTION CHART

       Pursuant to Paragraph 13 of the Court’s May 18, 2022 Scheduling Order (1:21-cv-01592,

D.I. 32; 1:22-cv-0057, D.I. 24), Plaintiff The Nielsen Company (US), LLC (“Nielsen”) and

Defendant TVision Insights, Inc. (“TVision”) have met and conferred, and hereby submit the

attached Joint Claim Construction Chart for U.S. Patent Nos. 7,783,889 (“’889 patent”) and

9,020,189 (“’189 patent”).

       The charts below identify the parties’ proposed constructions and identification of intrinsic

evidence in support of disputed constructions. Each party reserves the right to rely on intrinsic

evidence cited by the other party. Exhibit A to the Joint Claim Construction Chart is a copy of the

’889 patent. Exhibit B to the Joint Claim Construction Chart is a copy of the ’189 patent. Exhibit

C to the Joint Claim Construction Chart is a copy of cited portions of the prosecution file history

of the ’889 patent. Exhibit D to the Joint Claim Construction Chart is a copy of U.S. Patent No.
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6,061,793 (“Tewfik et al.”), which was cited during the prosecution of the ’889 patent. Exhibit E

is a copy of U.S. Patent No. U.S. Patent No. 8,489,884, which is a related patent to the ’889 patent

based on a continuation of the application that became the ’889 patent.

 Dated: January 25, 2023

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                                                       DISPUTED CONSTRUCTIONS1

                                                Nielsen’s Proposed Construction                      TVision’s Proposed Construction
                  Term
                                                     and Intrinsic Evidence                               and Intrinsic Evidence
    “frequency component”                Component of a signal generated by                   Plain meaning, i.e., a single frequency or single
    ’889 patent, cls. 1, 8, 13, 14, 17   transforming the signal data from the time           band of frequencies
                                         domain to the frequency domain
                                                                                              Intrinsic Evidence
                                         Intrinsic Evidence                                   ’889 patent: 1:56–2:9, 2:51–3:21, 8:1–21;
                                         ’889 patent: 1:56–61, 2:4–6; 3:6–13, 13:34–          13:35–24:23, Figs. 4–10, cls. 1, 7, 8, 13, 17.
                                         16:60, 21:43–23:23, Figs. 4–5, Fig. 9, cls. 1, 8,
                                         13, 14, 17.

                                         U.S. Patent No. 8,489,884: cls. 1, 2, 5, 8, 9, 12,
                                         15, 16, and 19.




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  TVision reserves the right to assert its invalidity positions under 35 U.S.C. §§ 101 and 112, including at the summary judgment
stage.



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                                          Nielsen’s Proposed Construction                      TVision’s Proposed Construction
             Term
                                               and Intrinsic Evidence                               and Intrinsic Evidence
“identify[ing] a first frequency   Plain and ordinary meaning                           This claim term requires selecting at least two
component having a first                                                                frequency components to the exclusion of
spectral power and a second        To the extent a construction is needed, Nielsen      others; more than just “performing a spectral
frequency component having a       proposes the following construction:                 transform operation on the first frame of media
second spectral power by                                                                samples”
performing a spectral transform    Generate first and second frequency components
operation on the first frame of    by performing a spectral transform operation on      Intrinsic Evidence
media samples”                     the first frame of media samples                     ’889 patent: 1:56–2:9, 2:51–3:21, 8:1–21;
’889 patent, cls. 1, 8, 14                                                              13:35–24:23, Figs. 4–10, cls. 1, 7, 8, 13, 17.
                                   Intrinsic Evidence
                                   ’889 patent: 1:56–61, 2:4–6; 3:6–13, 13:35–45;       ’889 patent file history: Applicant’s March 27,
                                   13:34–16:61, 21:43–23:23, Figs. 4–5, Fig. 9, cls.    2009 Response to the Non-Final Office Action
                                   1, 8, 13, 14, and 17.                                Dated December 30, 2008

                                   ’889 patent file history:
                                   Non-Final Office Action (Dec. 30, 2008)
                                   Non-Final Office Action (Jun. 8, 2009)
                                   Response to Non-Final Office Action (Sept. 25,
                                   2009)
                                   Notice of Allowance (Dec. 9, 2009)
                                   U.S. Patent No. 6,061,793 (“Tewfik et al.”)

                                   U.S. Patent No. 8,489,884: cls. 1, 2, 5, 8, 9, 12,
                                   15, 16, and 19.




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                                     Nielsen’s Proposed Construction                   TVision’s Proposed Construction
             Term
                                          and Intrinsic Evidence                            and Intrinsic Evidence
“first data analyzer”         Not a means plus function term.                   Indefinite. Means plus function term with no
’189 patent, cl. 9                                                              corresponding structure.
                              Hardware, software, firmware, and/or any
                              combination thereof that executes an analysis     Function: “to execute a first recognition analysis
                              tasked with recognizing and/or detecting one or   on three-dimensional data representative of a
                              more aspects of image data representative of an   first object within a threshold distance from a
                              environment and/or occupants of the               three-dimensional sensor, where such
                              environment.                                      recognition analysis is able to detect a first
                                                                                person”
                              This expressly includes a tangible computer
                              readable storage medium such as a storage         Intrinsic Evidence
                              device or storage disc storing software and/or    ’189 patent: 1:39-55, 10:48-14:42, 17:62-19:27,
                              firmware executing this operation.                19:28-20:12 & Figs 1-6, cls. 1, 9, 14.

                              Intrinsic Evidence
                              ’189 patent: 1:48–49, 1:52–55, 2:4–26, 17:62–
                              18:44, 18:65–19:27, Fig. 3, Fig. 5, cl. 9.




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                                    Nielsen’s Proposed Construction                   TVision’s Proposed Construction
            Term
                                         and Intrinsic Evidence                            and Intrinsic Evidence
“second data analyzer”       Not a means plus function term.                   Indefinite. Means plus function term with no
’189 patent, cl. 9                                                             corresponding structure.
                             Hardware, software, firmware, and/or any
                             combination thereof that executes an analysis     Function: “to execute a second recognition
                             tasked with recognizing and/or detecting one or   analysis on two-dimensional data representative
                             more aspects of image data representative of an   of a second object outside the threshold distance
                             environment and/or occupants of the               from a three-dimensional sensor, where such
                             environment.                                      recognition analysis is able to detect a second
                                                                               person”
                             This expressly includes a tangible computer
                             readable storage medium such as a storage         Intrinsic Evidence
                             device or storage disc storing software and/or    ’189 patent: 1:39-55, 14:43-17:50, 17:62-19:27.
                             firmware executing this operation.                19:28-21:26 & Figs 1-6, cls. 1, 9, 14.

                             Intrinsic Evidence
                             ’189 patent: 1:48–49, 1:52–55, 2:4–26, 17:62–
                             18:44, 18:65–19:27, Fig. 3, Fig. 5, cl. 9.




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                                         Nielsen’s Proposed Construction                     TVision’s Proposed Construction
             Term
                                              and Intrinsic Evidence                               and Intrinsic Evidence
“wherein at least one of the firstPlain and ordinary meaning.                         Wherein the logic of at least one of the first data
data analyzer, the second data                                                        analyzer, the second data analyzer or the counter
analyzer or the counter is         To the extent a construction is needed, Nielsen    is implemented in the circuitry of a logic circuit
implemented via a logic circuit” proposes the following construction:
’189 patent, cl. 9                                                                    Intrinsic Evidence
                                   Wherein at least one of the first data analyzer,   ’189 patent: 1:39-59, 10:6-47, 17:62-18:64,
                                   the second data analyzer or the counter is         21:19-22:16, Figs 1-7, cls. 1, 9, 14; see also
                                   implemented via one or more electronic circuits    citations for “first data analyzer” and “second
                                   that process information by performing logical     data analyzer,” and “counter” (1:39-59, 15:4-
                                   operations on the information.                     15:22, 17:62-19:27, 21:19-22:16 & Figs. 1-7,
                                                                                      cls. 1, 9, 14).
                                  Intrinsic Evidence
                                  ’189 patent: 17:62–18:44, 18:65–19:27.




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